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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA, )             CRIM. NO. 06-00079 JMS/KSC
                              )
          Plaintiff,          )         ORDER (1) GRANTING IN PART
                              )         GOVERNMENT’S MOTION IN
     vs.                      )         LIMINE TO PRECLUDE CERTAIN
                              )         MITIGATING FACTORS AND TO
NAEEM J. WILLIAMS,            )         COMBINE CERTAIN MITIGATING
                              )         FACTORS, DOC. NO. 2683; AND
          Defendant.          )         (2) DENYING IN PART
                              )         DEFENDANT’S MOTION IN LIMINE
                              )         TO RESTRICT VICTIM IMPACT
                              )         EVIDENCE, DOC. NO. 2727
_____________________________ )

   ORDER (1) GRANTING IN PART GOVERNMENT’S MOTION IN
 LIMINE TO PRECLUDE CERTAIN MITIGATING FACTORS AND TO
 COMBINE CERTAIN MITIGATING FACTORS, DOC. NO. 2683; AND
   (2) DENYING IN PART DEFENDANT’S MOTION IN LIMINE TO
       RESTRICT VICTIM IMPACT EVIDENCE, DOC. NO. 2727

                             I. INTRODUCTION

            This Order addresses two issues raised in recent Motions filed by the

parties. First, the court GRANTS the government’s May 15, 2014 Motion in

Limine, Doc. No. 2683, to the extent it seeks to preclude Defendant Naeem

Williams (“Defendant”) from raising as mitigating factors that the U.S. Army,

including the Child and Youth Services Office at Schofield Barracks, was on
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notice that Talia Williams was being abused by Defendant and Delilah Williams.1

The court further DENIES Defendant’s Motion in Limine to Restrict Victim

Impact Evidence and to Permit Certain Defense Evidence in Response to Victim

Impact Evidence, Doc. No. 2727, to the extent it seeks to establish that statements

or allegations -- made in a civil lawsuit by Tarshia Williams against the

government for alleged negligence arising out of those same circumstances --

constitute binding judicial admissions or prior inconsistent statements.

                                       II. ANALYSIS

A.     Third Party Culpability as a Mitigating Factor

               The government argues that evidence suggesting that the U.S. Army

had notice of Talia Williams’ abuse is not relevant to mitigation because it is not

related to Defendant’s background, character, or record, or the circumstances of his

offense. In response, Defendant argues that the scope of mitigation evidence is

much broader than as proposed by the government, and that this evidence is

relevant to mitigation.2 The court therefore first outlines the scope of what

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          This Order addresses only one of the issues raised in Doc. No. 2683 -- the other issues
will be ruled on separately.
       2
         The proposed mitigating factors include that (1) “authorities within the U.S. Army,
including at the Child and Youth Services Office at Schofield Barracks, were on notice that there
were concerns that Talia Williams was being beaten prior to her death,” (Factor 144); (2) “staff
members at CYS have stated they heard Delilah Williams discuss beatings of Talia, and that she
closed windows to diminish the sound of the beatings, all of which was discussed with staff
                                                                                     (continued...)

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constitutes mitigating evidence, and then addresses whether evidence regarding the

U.S. Army’s notice falls within such scope.

       1.     Framework

              The Federal Death Penalty Act (“FDPA”) provides that the scope of

mitigating evidence involves several different categories:

              Mitigating factors. -- In determining whether a sentence
              of death is to be imposed on a defendant, the finder of
              fact shall consider any mitigating factor, including the
              following:

              (1) Impaired capacity. -- The defendant’s capacity to
              appreciate the wrongfulness of the defendant’s conduct
              or to conform conduct to the requirements of law was
              significantly impaired, regardless of whether the capacity
              was so impaired as to constitute a defense to the charge.

              (2) Duress. -- The defendant was under unusual and
              substantial duress, regardless of whether the duress was
              of such a degree as to constitute a defense to the charge.

              (3) Minor participation. -- The defendant is punishable as
              a principal in the offense, which was committed by
              another, but the defendant’s participation was relatively

       2
         (...continued)
supervisors prior to Talia’s death,” (Factor 145); (3) “Tarshia Williams is alleging in a lawsuit
that the Department of the Army bears some responsibility for Talia’s death,” (Factor 146);
(4) “the periodic summoning of MP’s to the Williams’ household, together with the sounds of
beatings, arguments, and yelling, amounted to notice to the Army, and to the community at
Wheeler Army Airfield Housing, that Talia Williams was being abused,” (Factor 147); and
(5) “any failure by Army personnel, including MP’s, Child and Youth Services Office personnel,
to address the possibility that Talia Williams was being abused prior to her death is a factor in
mitigation that you can consider as a basis for imposing a life sentence,” (Factor 148). See Doc.
No. 2658.

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             minor, regardless of whether the participation was so
             minor as to constitute a defense to the charge.

             (4) Equally culpable defendants. -- Another defendant or
             defendants, equally culpable in the crime, will not be
             punished by death.

             (5) No prior criminal record. -- The defendant did not
             have a significant prior history of other criminal conduct.

             (6) Disturbance. -- The defendant committed the offense
             under severe mental or emotional disturbance.

             (7) Victim’s consent. -- The victim consented to the
             criminal conduct that resulted in the victim’s death.

             (8) Other factors. -- Other factors in the defendant’s
             background, record, or character or any other
             circumstance of the offense that mitigate against
             imposition of the death sentence.

18 U.S.C. § 3592(a).

             Thus, “[t]he Act lists seven types of mitigating factors, plus a

catch-all, that the jury ‘shall consider’ in determining whether to recommend a

death sentence.” United States v. Gabrion, 719 F.3d 511, 524 (6th Cir. 2013) (en

banc), cert. denied, 134 S. Ct. 1934 (2014). These factors generally concern: (1) a

defendant’s culpability (“[i]mpaired capacity[,]” “unusual and substantial duress,”

“the defendant’s participation was relatively minor,” “[a]nother defendant or

defendants, equally culpable in the crime, will not be punished by death,” “[t]he

defendant committed the offense under severe mental or emotional disturbance[,]”

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and “[t]he victim consented to the criminal conduct that resulted in the victim’s

death”); (2) the defendant’s background (“The defendant did not have a significant

prior history of other criminal conduct”); and (3) the remaining factor being a

“catch-all” that “simply tracks the Supreme Court’s definition of mitigation

evidence.” Id. That is, “[e]very indication in the statute is [that] all of the

examples of mitigating evidence listed in § 3592(a) concern the defendant’s

background, culpability, or crime.” Id.

             Beyond the FDPA’s categories of mitigating evidence, caselaw

defines the scope of what constitutes mitigating evidence required by the

Constitution. The Supreme Court has explained that “the jury must be given an

effective vehicle with which to weigh mitigating evidence so long as the defendant

has met a ‘low threshold for relevance,’ which is satisfied by ‘evidence which

tends logically to prove or disprove some fact or circumstance which a fact-finder

could reasonably deem to have mitigating value.’” Smith v. Texas, 543 U.S. 37, 44

(2004) (quoting Tennard v. Dretke, 542 U.S. 274, 284-85 (2004)); see Hedlund v.

Ryan, --- F.3d ----, 2014 WL 1622765, at *18 (9th Cir. Apr. 24, 2014) (same); see

also Eddings v. Oklahoma, 455 U.S. 104, 114 (1982) (stating that the sentencer

may not “refuse to consider, as a matter of law, any relevant mitigating evidence”);

United States v. Mitchell, 502 F.3d 931, 991 (9th Cir. 2007) (stating that during the


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sentencing phase, “[t]he district court had discretion to exclude irrelevant

evidence”).

              Lockett v. Ohio, 438 U.S. 586, 604 (1978) (plurality), explains that

mitigating evidence includes “any aspect of a defendant’s character or record and

any of the circumstances of the offense that the defendant proffers as a basis for a

sentence less than death.” A majority of the Supreme Court later adopted Lockett’s

formulation of mitigating evidence. Eddings, 455 U.S. at 109 (applying Lockett);

see also Penry v. Lynaugh, 492 U.S. 302 (1989), abrogated on other grounds by

Atkins v. Virginia, 536 U.S. 304 (2002) (discussing Lockett and Eddings). Lockett

further made clear that this rule does not limit the trial court’s “traditional authority

. . . to exclude, as irrelevant, evidence not bearing on the defendant’s character,

prior record, or the circumstances of his offense.” 438 U.S. at 604 n.12. Smith v.

Mahoney, 611 F.3d 978 (9th Cir. 2010), reasoned that these statements in Lockett

“suggest that non-character, non-circumstance evidence need not factor into the

constitutionality of a death sentence.” Id. at 996.

              Mitigating evidence need not have a causal nexus to the offense. See

Hedlund, 2014 WL 1622765, at *18 (discussing Tennard, 542 U.S. at 287).

Rather, the Supreme Court has made clear “that evidence of a defendant’s

background and character . . . is relevant in mitigation even if it does nothing to


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explain why the defendant committed the crime of conviction” because it may

“diminish the defendant’s moral culpability.” Poyson v. Ryan, 743 F.3d 1185,

1205 (9th Cir. 2013) (citing Penry and Lockett); see also Tennard, 542 U.S. at 287

(“[W]e cannot countenance the suggestion that low IQ evidence is not relevant

mitigating evidence . . . unless the defendant also establishes a nexus to the

crime.”).

             But relying on cherry-picked phrases from caselaw (as opposed to the

full context in which such phrases appear), Defendant argues that mitigation

evidence encompasses any evidence that “might serve as a basis for a sentence less

than death.” See Doc. No. 2639, Def.’s Opp’n at 3 (quoting Tennard, 542 U.S. at

287); see also Doc. No. 2695, Def.’s Opp’n at 4 (incorporating by reference Doc.

No. 2639); id. at 3 (citing Tennard for proposition that the Supreme Court has

referred to mitigation as having “virtually no limits” where in fact Tennard, 542

U.S. at 285, provides that “virtually no limits are placed on the relevant mitigating

evidence a capital defendant may introduce concerning his own circumstances.”

(quoting Payne v. Tennessee, 501 U.S. 808, 822 (1991) (emphasis added)); id.

(citing Ayers v. Belmontes, 549 U.S. 7, 21 (2006), for proposition that the Supreme

Court has stated that mitigation evidence “potentially infinite” where in fact Ayers

explained that the jury instructions at issue properly “conveyed the message that


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the jury should weigh the finite aggravators against the potentially infinite

mitigators”).

                The court rejects Defendant’s selective interpretation of the caselaw to

the extent it ignores that mitigating evidence must still be relevant, even if a “low

threshold” of relevance applies. As Gabrion persuasively explains:

                Mitigation evidence . . . is not an empty concept to be
                filled by whatever a lawyer or court thinks might
                persuade a single juror in a particular case. It is true that
                the Supreme Court has said that mitigation evidence
                includes evidence that “the sentencer could reasonably
                find . . . warrants a sentence less than death.” Tennard v.
                Dretke, 542 U.S. 274, 285 (2004) (quotation marks
                omitted). But the key word there is “reasonably”; and
                read in the context of the rest of the Supreme Court’s
                mitigation-evidence caselaw, and Penry in particular, that
                passage simply refers to evidence relevant to “a reasoned
                moral response to the defendant’s background, character,
                and crime.” Penry, 492 U.S. at 319. Otherwise, for
                example, the Eighth Amendment would compel
                admission of evidence regarding the positions of the
                planets and moons at the time of the defendant’s offense -
                - so long as he can show that at least one juror is a firm
                believer in astrology. To read the Tennard passage (and
                others like it) in the manner that Gabrion suggests would
                be to transform mitigation from a moral concept to a
                predictive one, and make a caricature of the law. We
                decline the suggestion.

719 F.3d at 522. See also United States v. Fell, 531 F.3d 197, 219 (2d Cir. 2008)

(explaining that the defendant does not have “carte blanche to introduce any and all



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evidence that it wishes,” and that the court maintains its gatekeeping function

(quotations and citations omitted)).

             Thus, under the Constitution and the FDPA, the court will allow

Defendant to present relevant mitigating evidence, which includes any evidence

related to Defendant’s background, character, or record, or the circumstances of

Defendant’s offense.

      2.     Application to Third Party Culpability as a Mitigating Factor

             Defendant seeks to present as mitigating factors the alleged culpability

of a non-party, the U.S. Army, in failing to take action to protect Talia Williams

despite notice of her abuse. None of the factors enumerated in § 3592(a) lists third

party negligence as a relevant mitigating factor. Nor does the U.S. Army’s alleged

negligence fall within the catch-all of § 3592(a)(8) as “any other circumstance of

the offense that mitigate[s] against imposition of the death sentence” -- that the

U.S. Army had notice of Talia Williams’ abuse is not a “circumstance” of

Defendant’s offense of child abuse murder and murder in the perpetration of a

pattern and practice of assault and torture against a child as charged in Count 1 and

Count 2 of the Second Superseding Indictment. That is, the U.S. Army was not

involved in the offense conduct, and its notice of any abuse does not in any way

lessen and/or explain Defendant’s conduct in carrying out the offense.


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             The court’s conclusion that any negligence of the U.S. Army is not

mitigating evidence is confirmed by cases addressing admissibility of third party

culpability as a mitigating factor. For example, Eaglin v. Florida, 19 So.3d 935

(Fla. 2009), affirmed that security lapses and other systems failures in the prison

where the defendant killed a guard and inmate were not relevant mitigating

evidence. Eaglin explained that mitigating evidence must be relevant to the

defendant’s character, record, or circumstances of the offense, and “any negligence

on the part of the prison does not reduce the moral culpability” of the defendant for

the murders. Id. at 944.

             As another example, Williams v. Norris, 612 F.3d 941 (8th Cir. 2010),

denied habeas relief for a defendant who committed various capital offenses after

escaping from prison. Williams rejected that the prison’s failure to prevent the

defendant’s escape was relevant mitigating evidence or that he was entitled to

funding for a corrections expert to testify regarding the prison’s negligence. Id. at

946. Williams explained that the Arkansas Supreme Court’s determination that this

evidence “‘has nothing to do with a criminal’s character, record, background,

condition, or the circumstances of the crime [and is therefore] not relevant on the

issue of punishment,’ was in accord with federal law and not erroneous.” Id. at

948 (quoting Williams v. Arkansas, 67 S.W.3d 548, 563 (Ark. 2002)).


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               In opposition, Defendant cites to the dockets of various capital murder

cases, which allowed on their special verdict forms mitigating factors directed to

either the victim’s involvement in the offense or in the case of prison killings, the

prison’s negligence in allowing conditions which contributed to the offense. See

Doc. No. 2695, Def.’s Opp’n at 27-28 & n.9. None of these cases, however,

addressed whether third party culpability is in fact a relevant mitigating factor.

Indeed, the court reviewed each of the dockets cited by Defendant and the court

could find no objections and/or discussion by the court as to third party

culpability.3 Thus, the dockets cited by Defendant are ultimately unhelpful in

determining whether any negligence on the part of the U.S. Army is proper

mitigating evidence.4

               In sum, the court finds that any alleged negligence by the U.S. Army

in failing to take action as to Talia Williams’ abuse does not constitute a mitigating



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          Although in United States v. McCluskey, Cr. No. 10-2734 JCH (D. N.M.), the
government objected to mitigating factors directed to third party negligence, McCluskey
overruled such objection as untimely and therefore did not address the substance of the
government’s objection. Further, the only case cited by Defendant, United States v. Arquart,
2012 WL 603243 (D. Conn. Feb. 24, 2012), addressed the victim’s actions contributing to the
offense, not the actions of a third party.
       4
          At a May 29, 2014 hearing, defense counsel further argued that the court should allow
these mitigating factors to ensure uniformity where the cases cited in Defendant’s Opposition
have allowed such factors and no caselaw has rejected third party culpability as a mitigating
factor. The court easily rejects this argument -- the court is not ruling in a manner inconsistent
with any legal consensus.

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factor in considering Defendant’s sentence. Stated differently, Defendant has not

met the low threshold of relevance satisfied by evidence which tends logically to

prove or disprove some fact or circumstance which a fact-finder could reasonably

deem to have mitigating value. Instead, the U.S. Army’s alleged negligence in not

properly assessing, evaluating, or investigating abuse of Talia Williams has no

bearing on Defendant’s background, record, or character, or any other

circumstance of the offense.

B.    Allegations by Tarshia Williams in her Civil Action

             Next, Defendant argues that certain statements or allegations Tarshia

Williams has made in her civil lawsuit against the United States (Tarshia Williams

v. United States, Civ. No. 08-00437 ACK-BMK) (the “civil action”) constitute

“prior inconsistent statements” or “judicial admissions” -- and such allegations

should thus be admitted in evidence should Tarshia Williams testify that Defendant

“caused injury, harm, and loss” to her by causing the death of her daughter, Talia

Williams. Doc. No. 2727, Def.’s Mot. at 13. The court DENIES the request to the

extent Defendant seeks to introduce any such allegations as binding judicial

admissions or inconsistent statements. The court did permit, however, Defendant




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to cross-examine Tarshia Williams regarding the source or sources of any harm or

distress that she testifies she suffered by the death of Talia Williams.5

              In October 2008, Tarshia Williams filed her civil action against the

United States under the Federal Tort Claims Act (“FTCA”), alleging claims in

negligence and parental loss of consortium for breaches of certain duties relating to

government employees’ alleged failure to assess, evaluate, and investigate abuse of

Talia Williams. See generally, Doc. No. 1 (Civ. No. 08-00437 ACK-BMK (D.

Haw. Oct. 3, 2008), Compl. at 6-8. In particular, Defendant points to several

allegations in that Complaint to the effect that “Tarshia Williams[] has suffered

severe and devastating emotional distress and parental loss of consortium over

Talia’s death occasioned and proximately caused by the wrongful and illegal acts

and omissions of the [United States]”). Id. ¶ 7. Defendant contends that such

statements or allegations are inconsistent with a proffer that Tarshia Williams will

testify during the selection phase that Defendant caused her “injury, harm, and

loss” by killing Talia -- and thus the specific allegations of the civil complaint are




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         The civil action allegations are not in any manner inconsistent with Tarshia Williams’
testimony. That is, the allegations in the civil action and her trial testimony were completely
consistent.

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binding admissions for use as impeachment evidence against Tarshia Williams.6

The court disagrees.

               Statements or allegations that Tarshia Williams made in pleadings in

her civil action are not “judicial admissions” for present purposes in this criminal

action. Defendant relies on a principle that, under certain circumstances, “a

statement in a complaint, answer or pretrial order is a judicial admission, as is a

failure in an answer to deny an allegation.” Am. Title Ins. Co. v. Lacelaw Corp.,

861 F.2d 224, 226 (9th Cir. 1988) (citations omitted). But this general rule does

not apply here -- admissions in one court proceeding are generally not considered

binding in separate litigation. See, e.g., Kohler v. Leslie Hindman, Inc., 80 F.3d

1181, 1185 (7th Cir. 1996) (“[A] statement made in one lawsuit cannot be a

judicial admission in another.”); Universal Am. Barge Corp. v. J-Chem, Inc., 946

F.2d 1131, 1142 (5th Cir. 1991) (“[J]udicial admissions are not conclusive and

binding in a separate case from the one in which the admissions were made.”);

United States v. Raphelson, 802 F.2d 588, 592 (1st Cir. 1986) (“[A] pleading in

one case is not a conclusive judicial admission in a later one[.]”); State Farm Mut.

Auto. Ins. Co. v. Worthington, 405 F.2d 683, 686 (8th Cir. 1968) (“[J]udicial

admissions are binding for the purpose of the case in which the admissions are


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          In fact, Tarshia Williams did testify that she was injured by the killing of Talia.

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made including appeals. This does not make the same judicial admissions

conclusive and binding in separate and subsequent cases.”).7

C.     Allegations or Statements by the Government in the Civil Action

               Similarly, Defendant argues that two statements or allegations by the

government in its Answer to Tarshia Williams’ Complaint in the Civil Action

constitute admissions of a party opponent under Federal Rule of Evidence

801(d)(2)(A) -- and as such are potential mitigating factors regarding the

“circumstances of the offense” under 18 U.S.C. § 3592(a)(8).8 The court disagrees.

               In particular, in the civil action, the government asserted the following

as defenses to Tarshia Williams’ negligence-based FTCA claims:

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          Defendant recognizes that, at this selection phase, the Federal Rules of Evidence are
not applicable. See 18 U.S.C. § 3593(c) (“Information is admissible regardless of its
admissibility under the rules governing admission of evidence at criminal trials except that
information may be excluded if its probative value is outweighed by the danger of creating unfair
prejudice, confusing the issues, or misleading the jury.”). Nevertheless, Defendant argues that --
guided by general evidentiary principles -- the government’s assertions in its pleading are
“admissions.” Whether by evidentiary principles, or caselaw defining a “judicial admission,”
under § 3593(c), deeming the government’s assertions in the civil action to be binding
admissions would “mislead the jury.”
       8
         As noted above, the Federal Rules of Evidence are inapplicable in this selection phase.
Assuming, however, that principles underlying Rule 801 may provide guidance, the court
concludes that the government’s statements in the civil action are not admissions -- as with
Tarshia’s allegations, deeming the government’s assertions in that action to be admissions would
“mislead the jury” under § 3593(c).

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                                SECOND DEFENSE

                    Plaintiff’s injuries were the result, in whole or in
             part, of the negligence of third parties.

                                 THIRD DEFENSE

                    Plaintiff’s injuries were the result, in whole or in
             part of plaintiff’s own comparative or contributory
             negligence.

Doc. No. 8 (Civ. No. 08-00437 ACK-BMK (D. Haw. Jan. 26, 2009), Answer at 5.

             First, to the extent Defendant argues that these allegations constitute

binding judicial admissions, the argument fails. As established above, admissions

(assuming such affirmative defenses could constitute “admissions”) in one court

proceeding generally do not constitute a binding judicial admission in a different

case. See, e.g., Kohler, 80 F.3d at 1185.

             Moreover, “judicial admissions generally pertain to binding assertions

of fact, matters that a party unequivocally declares to be true because that party is

uniquely positioned to know so and concede.” Banks v. Yokemick, 214 F. Supp. 2d

401, 406 (S.D.N.Y. 2002). Stated differently, “[t]he scope of a judicial admission

by counsel is restricted to unequivocal statements as to matters of fact which

otherwise would not require evidentiary proof -- it does not extend to counsel’s

statements of their conception of the legal theory of a case, i.e., legal opinion or

conclusion.” Eli Lilly & Co. v. Valeant Pharm. Int’l., 2011 WL 573761, at *3

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(S.D. Ind. Feb. 15, 2011) (citation omitted); see also, e.g., Harrington v. Nashua,

610 F.3d 24, 31 (1st Cir. 2010) (reasoning that legal conclusions are not binding

judicial admissions) (citing cases). And the two defenses that Defendant points to -

- that Tarshia’s injuries from any government negligence are wholly or partly

attributable to third parties, and/or that her injuries are wholly or partly resulting

from contributory negligence -- are certainly not “unequivocal statements as to

matters of fact which otherwise would not require evidentiary proof.” Banks, 214

F. Supp. 2d at 406. They are akin to legal allegations or conclusions, which cannot

be judicial “admissions.” See, e.g., Harrington, 610 F.3d at 31.

                                 III. CONCLUSION

             Based on the above, the court GRANTS the government’s Motion in

Limine to Preclude Certain Mitigating Factors and to Combine Certain Mitigating

Factors, Doc. No. 2683, to the extent it seeks to preclude Defendant from

presenting as mitigation that the U.S. Army had notice of Talia’s abuse. The court

also DENIES Defendant’s Motion in Limine to Restrict Victim Impact Evidence

and to Permit Certain Defense Evidence in Response to Victim Impact Evidence,

Doc. No. 2727, to the extent it seeks to establish binding judicial admissions or

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prior inconsistent statements made in Tarshia Williams’ civil action (Civ. No. 08-

00437 ACK-BMK).

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, May 30, 2014.


                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




United States v. Williams, Cr. No. 06-00079 JMS/KSC, Order (1) Granting in Part Government’s
Motion in Limine to Preclude Certain Mitigating Factors and to Combine Certain Mitigating
Factors, Doc. No. 2683; and (2) Denying in Part Defendant’s Motion in Limine to Restrict
Victim Impact Evidence, Doc. No. 2727




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